                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


WAUKESHA FLORAL & GREENHOUSES, INC.,
(d/b/a Waukesha Floral and Waukesha Floral & Greenhouse),

       Plaintiff,

     v.                                                              Case No. 15-CV-1365

JAMES POSSI, YOUR FLORIST LLC, and
ANN M. RICE,

       Defendants.



             DECISION AND ORDER ON DEFENDANTS’ MOTION
       TO EXCLUDE OPINIONS AND TESTIMONY OF CURTIS REYNOLDS


       Waukesha Floral & Greenhouses, Inc. sues James Possi, Your Florist LLC, and Ann

M. Rice (collectively “the defendants”) for trademark infringement, unfair competition, and

violation of a 2000 stipulation and order for dismissal between Waukesha Floral and Possi.1

Before me is defendants’ motion to exclude expert testimony pursuant to Daubert v. Merrell

Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). The defendants seek to bar the testimony of

the plaintiff’s damages expert, Curtis Reynolds. (Docket # 187.) For the reasons discussed

below, the defendants’ motion is granted.

                                        BACKGROUND

       The underlying facts of this case are detailed in the June 1, 2018 decision and order

on the parties’ cross-motions for summary judgment. (Docket # 181.) Waukesha Floral

offers the opinion of Curtis Reynolds, a forensic accountant, as to the damages it allegedly

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  Waukesha Floral also raised claims for tradename infringement and violation of Wis. Stat. § 100.18;
however, these claims were dismissed on summary judgment.



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sustained from the defendants’ improper use of names similar to Waukesha Floral &

Greenhouse and the use of telephone numbers associated with those names. (August 18,

2016 Expert Report of Curtis Reynolds (“2016 Report”), Ex. A to Declaration of Joseph M.

Wirth ¶ 1, Docket # 154-3.) Reynolds subsequently revised his report and Waukesha Floral

now offers Reynolds’ report dated March 27, 2018. (March 27, 2018 Expert Report of Curtis

Reynolds (“2018 Report”), Ex. F to Declaration of Matthew Fernholz ¶ 6, Docket # 160-6.)

The defendants argue Reynolds’ second report is impermissible because it remedies defects

in the original report rather than supplementing the opinion. (Defs.’ Br. at 11, Docket #

188.) The defendants further challenge the methodology for calculating damages used in

both of Reynolds’ reports, arguing it does not meet the Daubert standard.

                                    LEGAL STANDARD

        The admissibility of expert testimony is governed by Federal Rule of Evidence 702

and Daubert. United States v. Pansier, 576 F.3d 726, 737 (7th Cir. 2009). Rule 702 provides

that:

        A witness who is qualified as an expert by knowledge, skill, experience,
        training, or education may testify in the form of an opinion or otherwise if:

        (a) the expert’s scientific, technical, or other specialized knowledge will help
        the trier of fact to understand the evidence or to determine a fact in issue; (b)
        the testimony is based on sufficient facts or data; (c) the testimony is the
        product of reliable principles and methods; and (d) the expert has reliably
        applied the principles and methods to the facts of the case.

The inquiry consists of three general areas: (1) the testimony must be “helpful,” which

dovetails with the relevance requirements of Fed. R. Evid. 401–403; (2) the expert must be

qualified by knowledge, skill, experience, training, or education; and (3) the testimony must




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be reliable and fit the facts of the case. Lyman v. St. Jude Medical S.C., Inc., 580 F. Supp. 2d

719, 722 (E.D. Wis. 2008).

       Whether an expert is qualified to render an opinion must be considered on a

question-by-question basis. See Gayton v. McCoy, 593 F.3d 610, 617 (7th Cir. 2010) (internal

citation omitted) (“The question we must ask is not whether an expert witness is qualified in

general, but whether his ‘qualifications provide a foundation for [him] to answer a specific

question.’”).

       As to reliability, the court examines whether (1) the testimony is based upon

sufficient facts or data, (2) the testimony is the product of reliable principles and methods,

and (3) the witness has applied the principles and methods reliably to the facts of the case.

Fed. R. Evid. 702. The district court must act as the gatekeeper to ensure that the proffered

testimony is both relevant and reliable. Pansier, 576 F.3d at 737. To help ensure the

reliability of expert testimony, the court considers, for example, whether the theory can be

and has been verified by the scientific method through testing, whether the theory has been

subjected to peer review, the known or potential rate of error, and the general acceptance of

the theory in the scientific community. Cummins v. Lyle Indus., 93 F.3d 362, 368 (7th Cir.

1996). The court must also ensure that there is a credible link between the evidence and the

conclusion of the expert. See General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“A court

may conclude that there is simply too great an analytical gap between the data and the

opinion proffered.”).

       Despite the court’s role as a gate keeper, expert testimony is liberally admissible

under the Federal Rules of Evidence. Lyman, 580 F. Supp. 2d at 723. “Vigorous cross-

examination, presentation of contrary evidence, and careful instruction on the burden of

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proof are the traditional and appropriate means of attacking shaky but admissible evidence.”

Daubert, 509 U.S. at 596.

                                 REYNOLDS’ EXPERT REPORTS

       Although the defendants challenge Waukesha Floral’s submission of an updated

report, because the defendants’ arguments apply to both reports, I need not address whether

Waukesha Floral should be permitted to submit a revised report.

       Reynolds calculated Waukesha Floral’s damages as follows. In the 2016 Report,

Reynolds reviewed telephone bills and tallied the incoming calls to telephone numbers

alleged to have been improperly used by the defendants. (Docket # 154-3 at 2.) Reynolds

removed duplicate entries and all calls under ten seconds. (Id.) Reynolds reviewed records

from five telephone numbers between January 2004 and March 8, 2016. (Ex. 4 to 2016

Report, Docket # 156-2.)

       Reynolds then estimated the success rate of telephone orders in relation to incoming

calls as experienced by Waukesha Floral at its own telephone numbers. Reynolds used six

telephone numbers from October 20, 2014 to April 20, 2016, as those were the available

records. (Docket # 154-3, Docket #156-2.) Reynolds included unanswered calls in this

calculation. (Docket # 154-3.)

       Reynolds then used two sales reports from Waukesha Floral to calculate the total

number of telephone orders achieved by Waukesha Floral from October 20, 2014 to April

20, 2016. (Id.) Reynolds then divided the telephone orders received by Waukesha Floral by

the total calls (answered and unanswered) received by Waukesha Floral, to achieve a

“success rate” of 68.49%. (Id.) Reynolds then applied the “success rate” to the total number

of incoming calls received on telephone numbers allegedly improperly used by the

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defendants from January 2004 to March 8, 2016, which resulted in 3,991 lost orders. (Id. at

3–4.)

        Reynolds then estimated the average sales value per floral order, using data from

Waukesha Floral, and then compared that value to 2016 data provided by the Society of

American Florists (“SAF”). (Id. at 4.) According to the SAF, the average sales value per

transaction in 2016 was $67.73 for florists in the Midwest. (Id.) Reynolds noted that

Waukesha Floral’s average sales varied from 2006 to 2015, but generally ranged from

$53.00 to $66.00 per transaction. (Id.) Reynolds then applied the average sales value per

order to the calculated lost orders, by year, to calculate total lost sales. (Id.) Finally,

Reynolds subtracted the saved cost of goods sold and other variable expenses from the lost

sales value to reach a total damage amount of $124,973.00. (Id. at 5.)

        In the 2018 Report, Reynolds utilized the same methodology for calculating

damages; however, he removed the unanswered telephone calls from his calculation of

Waukesha Floral’s incoming calls. (Docket # 160-6 at 3.) Reynolds also added incoming

calls from two additional telephone lines for Waukesha Floral. (Id. at 2.) With the

alterations in data, the “success rate” changed to 90.98%, the total lost orders increased to

5,302, and the total damages increased to $166,014.00. (Id. at 4–5.)

                                        ANALYSIS

        As an initial matter, Waukesha Floral misstates the proper standard for analyzing a

Daubert challenge. Waukesha Floral argues that in trademark infringement cases, damages

are difficult to calculate and involve some degree of speculation. (Pl.’s Br. at 1–2, Docket #

190.) Waukesha Floral further argues that it is not the trademark holder’s responsibility to

segregate which sales were generated by a defendant’s infringement. (Id. at 4.) Waukesha

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Floral has skipped a step. We are not yet at the point of proving damages; we are deciding

whether to admit expert testimony. Again, whether an expert’s testimony is admissible is

governed by Fed. R. Evid. 702 and Daubert, and it is the proponent’s burden to prove the

admissibility of their evidence. Lewis v. CITGO Petroleum Corp., 561 F.3d 698, 706 (7th Cir.

2009).

         The defendants do not challenge Reynolds’ qualifications to render an opinion as to

Waukesha Floral’s actual damages. Rather, the defendants argue that Reynolds’

methodology used in calculating damages is flawed. As outlined above, Reynolds’ first step

in his damages calculation was to determine the defendants’ incoming calls. To do this,

Reynolds took the incoming call volume records from AT&T for five telephone numbers

associated with business names allegedly improperly used by the defendants. (Docket # 160-

6 at 2–3.) Reynolds used data from 2004 through March 8, 2016 (the date the injunction in

this case was ordered). (Id. at 3.) Reynolds removed telephone calls under ten seconds. (Id.)

The resulting number of calls was 5,827. (Id. at 9.)

         The defendants argue Reynolds’ methodology in determining the defendants’

incoming calls is flawed in two ways. First, they argue Reynolds mistakenly assumed that

the five telephone numbers were assigned solely to five discrete business names in dispute

when the evidence shows that the defendants simultaneously listed multiple business names

in the phone directories for each of the numbers and some listings included names the

defendants do not recognize. (Defs.’ Br. at 12, Docket # 188.) Thus, it is impossible to

separate calls to benign business names from calls to allegedly infringing ones. The

defendants further argue that Reynolds’ use of ten seconds as the cut-off time for

determining the calls included in the defendants’ incoming call number is arbitrary.

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       Waukesha Floral argues there are foundation problems with several of the names the

defendants argue are associated with the five telephone numbers because the defendants’

expert did not perform any independent research and simply looked at the internet. (Pl.’s Br.

at 4.) Waukesha Floral further argues that Reynolds simply used telephone numbers the

defendants provided in response to discovery requests. (Id. at 5.) While it does not seem

improper for Reynolds to use the telephone numbers provided to Waukesha Floral in

discovery by the defendants, Reynolds’ report still has an immediate glaring flaw. In

determining the number of telephone calls used in his calculation, Reynolds included

telephone numbers associated with business names allegedly infringing Waukesha Floral’s

trade name “Waukesha Floral & Greenhouse.” (Docket # 154-3 at 1, Docket # 160-6 at 2.)

Waukesha Floral’s causes of action alleging infringement of the trade name “Waukesha

Floral & Greenhouse” were dismissed on summary judgment. To be fair, both of Reynolds’

reports predate the summary judgment decision and this error could be easily remedied by

removing the telephone numbers associated with names allegedly infringing the trade name

“Waukesha Floral & Greenhouse” from the analysis and performing the calculations again.

Thus, this is a criticism of Reynolds’ data, not his methodology.

       But Reynolds’ use of ten seconds as a cut-off for determining which of the

defendants’ incoming calls to include in his calculation is problematic. The defendants argue

that Reynolds’ assumption that calls over ten seconds produce flower sales is completely

arbitrary. Beyond stating that the defendants’ expert acknowledged that telephone calls

lasting between ten and sixty seconds could result in a successful telephone order (Pl.’s Br.

at 7), Waukesha Floral does nothing to defend Reynolds’ methodology in using the ten

second cut-off.

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       Reynolds testified that the basis for the ten second threshold was “conversations with

the plaintiff about what could occur on a phone call, whether it was a consumer inquiring

about the hours and when the store might be open, when they could come in for an order,

or if they made an inquiry about having product available to come in to purchase later, [ ]

that could be done in a short duration.” (July 10, 2018 Deposition of Curtis Reynolds at 18,

Ex. A to Declaration of Joseph Wirth ¶ 1, Docket # 189-1.) Reynolds further testified that

he “may have” done some mock telephone calls with the plaintiff “inquiring about hours

and things like that and timed it, and I think that was part of coming up with the ten

seconds.” (Id. at 20-21.)

       The reasoning or methodology underlying an expert’s testimony must be

scientifically valid, ruling out any subjective belief or unsupported speculation. Chapman v.

Maytag Corp., 297 F.3d 682, 687 (7th Cir. 2002). Reynolds’ inclusion of any calls over ten

seconds in his calculation is nothing more than speculation. It is unclear why he did not use

as the cut-off eleven seconds, one minute, or five minutes. Beyond his assertion that he

“may have” done a few test calls with the plaintiff and had some discussions about the type

of calls he gets that are “done in a short duration,” it appears the choice of ten seconds was

indeed arbitrary. Thus, Reynolds’ methodology is flawed in this manner.

       Reynolds’ next step in his calculation was to determine the “success rate.” In doing

so, Reynolds used data from Waukesha Floral’s business records to determine the number

of telephone orders it received from October 20, 2014 to April 20, 2016. (Docket # 160-6 at

3.) This number was 17,027. (Id. at 11.) Reynolds then reviewed telephone records for

incoming, answered calls to telephone numbers associated with Waukesha Floral from

October 20, 2014 to April 20, 2016. However, for one of Waukesha Floral’s telephone

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numbers, Reynolds used data from August through December of 2017. (Id.) This total was

18,714. (Id.) Reynolds then divided the two numbers to get a success rate of 90.98%.

                                     17,027
                                     ——— x 100 = 90.98%
                                     18,714

Reynolds’ next step in the calculation was to determine lost orders. To calculate this,

Reynolds took the number of defendants’ incoming calls over ten seconds (5,827) from 2004

through March 2016 and multiplied the total calls for each year by the success rate, to get

the number of lost orders for that year. (Id. at 3–4.) For example, for 2004, the total calls to

the defendants’ numbers were 31, multiplied by 90.98%, equals 28 lost orders. (Id. at 8.) For

2005, the total calls were 20, multiplied by 90.98%, equals 18 lost orders. (Id.) Reynolds

went on to perform this calculation for each year between 2004 and 2015, and for January 1,

2016 through March 8, 2016. (Id.) This resulted in 5,302 lost orders. (Id.)

       The defendants argue Reynolds’ methodology for calculating the success rate is

flawed because: (1) Reynolds used incoming calls to Waukesha Floral from October 20,

2014 to April 20, 2016 and included all answered calls; whereas, when he applied the

success rate to the defendants’ incoming calls, he used incoming calls from January 2004 to

March 8, 2016 and only included calls lasting over ten seconds; (2) within Reynolds’ data

set for Waukesha Floral’s answered calls, for one of the telephone numbers, records were

only used for a four-month (rather than eighteen-month) period of time between August and

December 2017; (3) Reynolds cannot explain what “unanswered call” means; and (4) the

success rate is an arbitrary number that has no scientific basis. (Defs.’ Br. at 11.)

       Waukesha Floral responds to the defendants’ criticisms about the data set Reynolds

used by stating that the defendants and their expert cannot come up with anything better.

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(Pl.’s Br. at 9–10.) This is not a contest between experts. The question is whether Reynolds’

testimony is reliable. And Reynolds’ success rate calculation (and thus his lost orders

calculation) is indeed flawed. While I do not find problematic Reynolds’ ability to define

“unanswered calls” (this seems self-explanatory), Reynolds does not explain why for

Waukesha Floral’s data set he uses eighteen months and includes all answered calls, no

matter the length, and for the defendants’ data set he uses twelve years and calls over ten

seconds. If Reynolds believes that at least ten seconds is necessary to lead to a flower sale,

why does Waukesha Floral get the benefit of the assumption that all calls—even a one

second call—must lead to a flower sale? Further, while Waukesha Floral can explain why it

only has data for one of its telephone numbers for four months as opposed to eighteen

months (i.e., the telephone service provider only kept records going back six months), it fails

to explain why this does not affect the reliability of Reynolds’ methodology.

       The defendants do not challenge the remainder of Reynolds’ methodology for

calculating damages (i.e., average value of sales, saved cost of goods sold and other variable

expenses), but with the first three parts of the analysis so inherently flawed, Reynolds’

methodology does not pass muster under Daubert. Thus, the defendants’ motion to exclude

Reynolds’ expert testimony is granted.

                                          ORDER

       NOW, THEREFORE, IT IS ORDERED that defendants’ motion to exclude expert

testimony (Docket # 187) is GRANTED.




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Dated at Milwaukee, Wisconsin this 5th day of November, 2018.


                                        BY THE COURT:

                                        s/Nancy Joseph ____________
                                        NANCY JOSEPH
                                        United States Magistrate Judge




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